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Judicial HomepageSupreme CourtAbout UsHistoryJudicial OfficersJudgesMagistrate JudgesHonor Roll of JudgesHours and LocationsContact InfoOffice of the ClerkCivil DivisionLandlord TenantCivil Division FAQsContact Civil Division-STT/STJContact Civil Division-STXComplex Litigation DivisionSuperior Court Appellate DivisionProbate DivisionProbate FAQsContact Probate Division-STT/STJContact Probate Division-STXSmall Claims DivisionPreparing to File Suit in Small Claims CourtFiling Suit in Small Claims CourtFiling of Answers / CounterclaimsContinuance or Settlements Prior to a Court DateThe Trial ProcessAppealing a Small Claims CaseFAQsSmall Claims FormsContact Small Claims Division-STT/STJContact Small Claims Division-STXCriminal DivisionWhen an Arrest is MadeCriminal Court ProceedingsAppeal InformationImportant TermsContact Criminal Division-STT/STJContact Criminal Division-STXLitter and Litter EnforcementPayment InformationConservationCourt AppearanceFamily DivisionMarriageDomestic ViolenceImportant TermsFAQsContact Family Division-STT/STJContact Family Division-STXTraffic DivisionAppealing a Traffic CaseTraffic Division FAQsContact Traffic Division-STT/STJContact Traffic Division-STXPay Your CitationAdministrationAdministrator of CourtsHuman Capital ManagementFiscal ManagementCourt ServicesProcurementAnnual ReportsADAOffice of the Virgin Islands MarshalTechnology ServicesCareer OpportunitiesRulesOpinionsFormsCourt CalendarsCourt CalendarsPublic PostingsMENUSuperior Court of the Virgin Islands&nbsp;»&nbsp;Court Opinions&nbsp;»&nbsp;Published OpinionsA+A-Published OpinionsSub Menu
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        RSS FeedStart Date: End Date: Judge: Clear FilterCase CaptionDateCase NumberJudgeCitationSummaryJody Olson, Individually and on Behalf of all Others Similarly Situated vs. VI Water and Power Authority and Lawrence J. Kupfer and Government of the Virgin islands2023/11/02ST-2019-CV-602Willocks, Harold W. L.2023 VI Super 64PView SummaryKenrick Maynard vs. Government of the Virgin Islands, Governor Albert Bryan is his official capacity, Ariel M. Smith, Attorney General, Bureau of Corrections Director Wynnie Testamark2023/07/07SX-2018-MC-66Brady, Douglas A.2023 VI Super 36PView SummaryRhonda Jeremiah, As Personal Representative of Tamir Lake, Deceased vs. VI Department of Human Services, Lutheran Social Services of the Virgin Islands, Lutheran Services for Developmentally Disabled, Inc.2023/06/15SX-2022-CV-148Willocks, Harold W. L.2023 VI Super 34PView SummaryCharles Huddleston and Jessie Huddleston vs. M.G.C., Inc., and U.S. Virgin Islands Corporation/M.G.C., Inc. and U.S. Virgin Islands Corporation vs. Government of the Virgin Islands2024/01/22SX-2022-CV-480Willocks, Harold W. L.2024 VI Super 3PView SummarySteven D. Payne, Sr., et al vs. Donna Frett Gregory as Senate President of the 34th Legislature of the VI and Its Membership2024/01/18ST-2022-CV-247Gumbs-Carty, Renee2024 VI Super 4PView SummaryFaye Liburd as Personal Representative of the Estate of Jason Julius vs. Virgin Islands Water and Power Authority2023/12/04SX-2018-CV-311Thomas-Jacobs, Carol2023 VI Super 76PView SummaryErbey Holding Corporation; John R. Erbey Family Limited Partnership vs. Blackrock Financial Management, Inc.2023/12/04SX-2018-CV-146Willocks, Harold W. L.2023 VI Super 75PView SummaryJulian St. Rose; Virginie George; Raymond Alleyne; Edgar Barrios; and Others vs. Virgin Islands Industrial Maintenance Corporation; HOVENSA, LLC; HOVIC; and The Hess Corporation, Formerly Known as Amerada Hess Corp.2023/11/22SX-2002-CV-598; SX-2002-CV-641; SX-2009-CV-299; SX-2015-CV-100; and SX-2019-MC-53Willocks, Harold W. L.2023 VI Super 74PView SummaryIn Re: Alumina Refinery Toxic Dust Claims2023/11/30SX-2022-MC-27Andrews Jr., Alphonso G.2023 VI Super 71PView SummaryJoycelyn Williams vs. World Fresh Market, LLC d/b/a Pueblo2023/11/15ST-2019-CV-488Thomas-Jacobs, Carol2023 VI Super 70PView SummaryIn Re: Limetree Bay Commercial Litigation Cases2023/11/02SX-2022-MC-37Willocks, Harold W. L.2023 VI Super 66PView SummaryIn Re: Limetree Bay Commercial Litigation Cases2023/11/02SX-2022-MC-37Willocks, Harold W. L.2023 VI Super 65PView SummaryGo Fast Charters, LLC. vs. Texaco Caribbean, Inc.2023/10/11ST-2010-CV-672Francois, Denise M.2023 VI Super 58PView SummaryJody Olson, Individually and on Behalf of all Others Similarly Situated vs. VI Water and Power Authority and Lawrence J. Kupper and GVI2023/10/18ST-2019-CV-602Willocks, Harold W. L.2023 VI Super 61PView SummaryPeople of the Virgin Islands vs. Juan Aponte, Jr.2023/08/18SX-2022-CR-96Willocks, Harold W. L.2023 VI Super 51PView SummaryWanda Vialet as Personal Representative of the Estate of Pauline Figueroa vs. Virgin Islands Government Hospital and Health Facilities Corporation and Dr. Raymond Cintron, M.D.2023/08/07SX-2021-CV-768Willocks, Harold W. L.2023 VI Super 45PView SummaryRhonda Jeremiah, As Personal Representative of Tamir Lake, Deceased vs. VI Department of Human Services, Lutheran Social Services of the Virgin Islands, Lutheran Services for Developmentally Disabled, Inc.2023/06/15SX-2022-CV-148Willocks, Harold W. L.2023 VI Super 34PView SummaryFirstbank Puerto Rico vs. Edmond Webster a/k/a Edmond R. Webster, Bernice Webster, Cleve E. Webster a/k/a Cleve Webster, Oasis Development, LLC., and Triumph Development, LLC.2023/06/15ST-2012-CV-239Mackay, Kathleen Y. 2023 VI Super 33PView SummaryShanika K. Lewis vs. Conagra Brands, Inc. f/k/a and Successor in Interest to Conagra Foods/ Shanika K. Lewis vs. DS Containers, Inc. and PSMT, LLC d/b/a Pricesmart2023/06/16ST-2019-CV-150 &amp; ST-2020-CV-170Francois, Denise M.2023 VI Super 30PView SummaryShowayne Sidney Modeste2023/05/05SX-2015-CV-21Willocks, Harold W. L.2023 VI Super 21PView SummaryHaill Hassan vs. Brian/Bryan Bishop2023/05/01SX-2017-CV-302Willocks, Harold W. L.2023 VI Super 20PView SummaryPeople of the Virgin Islands vs. Danny Delerme2023/04/24SX-2020-CR-54Willocks, Harold W. L.2023 VI Super 17PView SummaryPeople of the Virgin Islands vs. Nahjeeb Acevedo2023/04/05SX-21-CR-201Willocks, Harold W. L.2023 VI Super 12PView SummaryGovernor Albert Bryan, Jr. in his official capacity, and the Government of the Virgin Islands vs. Virgin Islands Water and Power Authority2023/03/08ST-21-CV-361Gumbs-Carty, Renee2023 VI Super 5PView SummaryPeople of the Virgin Islands vs. Ta'Jhanique Cumberbatach, Sharif Matthew, and Sharif Matthew2023/01/03SX-2021-CR-73, SX-2021-CR-75 and SX-2021-CR-214Willocks, Harold W. L.2023 VI Super 1PView SummaryAncilla Veronica Gittens as Personal Representative of the Estate of Leopold Gittens vs. Jacqueline P. Butler as Executrix of the Estate of Frank Bishop, M.D.2022/12/29SX-05-CV-566Brady, Douglas A.2022 VI Super 100PView SummaryPeople of the Virgin Islands vs. Jimmy Davis2022/11/29Sx-20-CR-98Brady, Douglas A.2022 VI Super 95View SummaryKendall Motoo aka Kendall Matoo vs. Lhuis Rivera-Melendez aka Luis Rivera-Melendez and VI Enterprises Inc. d/b/a Avis Rent A Car 1800/01/01SX-2022-CV-199Willocks, Harold W. L.2022 VI Super 91PView SummaryWilliam Desmond and Tracy Desmond vs. Virgin Islands Water and Power Authority and Haugland Energy Group, LLC2022/10/05SX-2018-CV-48Brady, Douglas A.2022 VI Super 85PView SummaryPeople of the Virgin Islands vs. Trevorne Lake2022/09/26ST-18-CR-37Mackay, Kathleen2022 VI Super 82PView SummaryPeople of the Virgin Islands vs. Timothy Perez2022/09/19SX-22-CR-128Willocks, Harold W. L.2022 VI Super 81View SummaryPeople of the Virgin Islands vs. Tyley Smith aka Tyler Smith2022/09/19SX-22-CR-43Willocks, Harold W. L.2022 VI Super 72PView SummaryJoseph Gerace, Victoria Vooys, d/b/a Cane Bay Beach Bar vs. Maria Bentley; David Bentley; CB3, Inc.; Warren Mosler; Chris Hanley; and Chrismos Cane Bay, LLC2022/09/12SX-05-CV-368Willocks, Harold W. L.2022 VI Super 78PView SummaryRodney Stanley vs. VI Bureau of Corrections and Wynnie Testamark2022/09/08ST-16-MC-75Willocks, Harold W. L.2022 VI Super 77PView SummaryPeople of the Virgin Islands vs. Charles Vanterpool III2022/08/19SX-22-CR-103Willocks, Harold W. L.2022 VI Super 73PView SummaryPeople of the Virgin Islands vs. Tyley Smith a.k.a Tyler Smith2022/08/19SX-22-CR-43Willocks, Harold W. L.2022 VI Super 72PView SummaryDutch West Indies Trading Company, Inc. d/b/a Bandwith VI Company; Hurrican Communications, LLLP; Palo Duro Communications, Inc.; Neutron Communications, LLC; and Storm Communications, LLC, vs. Ralph Addington, SWP Holding LLC; Arcom Communication, LLC; SBA Towers USVI; Hunter Logan; and Nichols, Newman, Logan &amp; D'eramo2022/07/26SX-05-CV-661Willocks, Harold W. L.2022 VI Super 69PView SummaryDeborah Smith on her own and as Personal Representative of the Estate of Greg E. Smith vs. Virgin Islands Government Hospital and Health Facilities Corporation on behalf of the Governor Juan F. Luis Hospital and Medical Center, Dr. Casey 2022/07/13SX-21-CV-654Willocks, Harold W. L.2022 VI Super 66PView SummaryThelma Battiste and Charles Haynes vs. Auction.Com, Ditech Financial LLC a/k/a Greentree Servicing, and Federal National Mortgage Association2022/07/11SX-19-CV-228Willocks, Harold W. L.2022 VI Super 65PView SummaryPeople of the Virgin Islands vs. Hubert Lee, Jr. and Youan Rodriguez2022/06/21SX-17-CR-210 and SX-2017-CR-145Willocks, Harold W. L.2022 VI Super 60P &amp; 61PView SummaryMaura Herman vs. Virgin Islands Government Hospital and Health Facilities Corporation d/b/a Governor Juan F. Luis Hospital and Medical Center, Walter J. Pedersen, M.D. John Does, and Jane Does2022/06/21SX-2012-CV-471Willocks, Harold W. L.2022 VI Super 58PView SummaryPeople of the Virgin Islands vs. Quanza J. Heath2022/06/07SX-17-CR-23Willocks, Harold W. L.2022 VI Super 55PView SummaryPeople of the Virgin Islands vs. Micaiah Cozier2022/05/17ST-21-CR-380Gumbs-Carty, Renee2022 VI Super 53UView SummaryAlthea Eddy, as Personal Representative of the Estate of Linton Eddy vs. Treasure Bay V.I., Corp., d/b/a Divi Carina Bay Casino, and Casino Control Commission2020/08/19SX-15-CV-49Brady, Douglas A.2020 VI Super 76UView SummaryJoseph Gerace and Victoria Vooys d/b/a Cane Bay Beach Bar vs. Warren Mosler, Chris Hanley, and Chrismos Cane Bay, LLC2022/04/26SX-2005-CV-368Willocks, Harold W. L.2022 VI Super 46PView SummaryJoseph Gerace and Victoria Vooys d/b/a Cane Bay Beach Bar vs. Warren Mosler, Chris Hanley, and Chrismos Cane Bay, LLC2022/04/22SX-05-CV-368Willocks, Harold W. L.2022 VI Super 45PView SummaryJoseph Gerace and Victoria Vooys d/b/a Cane Bay Beach Bar vs. Warren Mosler, Chris Hanley, and Chrismos Cane Bay, ILC2022/04/22SX-05-CV-368Willocks, Harold W. L.2022 VI Super 45PView SummaryPeople of the Virgin Islands vs. Valmon Glasford Jr.2022/04/19ST-20-CR-205Mackay, Kathleen Y.2022 VI Super 42PView SummaryLeandre Aarndel vs. Hess Oil Virgin Islands Corporation; Amerada Hess Corporation; Litwin Corporation; Shell Oil Corporation; U.O.P. LLC; and American Cyanamid2020/04/13SX-05-CV-799Molly, Robert A.2020 VI Super 52PView SummaryJohn Barbell vs. Amerada Hess Corporation; Hess Oil Virgin Islands Corporation; Litwin Corporation; and Universal Oil Products also known as U.O.P.2020/04/26SX-06-CV-198Molly, Robert A.2020 VI Super 53PView SummaryStephanie Hodge vs. H. Duane Bobeck; Passport Holdings; Neptune Holdings; and Bobeck Real estate Company2020/06/12SX-08-CV-201Willocks, Harold W. L.2020 VI Super 68PView SummaryCarmelo Ayala vs. Lockheed Martin Corporation, individually and as successor-in-interest to Martin Marietta Corporation; Martin Marietta Aluminum, Inc., and Martin Marietta Aluminum Properties, Inc.; Martin Marietta Corporation individually and as successor-in-interest to Martin Marietta Aluminum, Inc.; and Martin Marietta Aluminum Properties, Inc.; Martin Marietta Aluminum, Inc.; Martin Marietta Aluminum Properties, Inc.; and General Engineering Corporation2020/03/03SX-08-CV-296Molly, Robert A.2020 VI Super 32PView SummaryCastillo, et al, vs. St. Croix Basic Services, Inc.,  Basic Industries, Inc., Hovensa, LLC, and Amerada Hess Corporation2020/03/10SX-09-CV-299Molly, Robert A.2020 VI Super 35PView SummarySt. Croix Financial Center, Inc. vs. Jackstar, Inc. and Jeff Lacroix2022/03/28SX-18-CV-283Willocks, Harold W. L.2022 VI Super 40PView SummaryJacqueline Santiago vs. United Corporation d/b/a Plaza Extra (West)2020/12/28SX-05-CV-739Brady, Douglas A.2020 VI Super 105PView SummaryPeople of the Virgin Islands vs. Jose Ventura2020/06/03SX-2012-CR-76Donohue, Sr., Darryl Dean2020 VI Super 63PView SummaryJerome Matthews vs. R&amp;M General Contractors, Inc.; Hector Rosario; and Jacqueline Mercedes2020/05/11SX-13-CV-499Willocks, Harold W. L.2020 VI Super 33PView SummaryMichael Kitnurse vs. Marshall and Sterling; and Certain Underwriters at Lloyds of London Subscribing to Policy Number CPS2006016602020/05/26SX-14-CV-361Willocks, Harold W. L.2020 VI Super 60PView SummarySixteen Plus Corporation vs. Manal Mohammad Yousef Counterclaimant2020/03/16SX-16-CV-65, SX16-CV-650, SX-17-CV-342Molly, Robert A.2020 VI Super 43PView SummaryPeople of the Virgin Islands vs. Jerris T. Browne, Gregory Christian, and Syed Gilani2020/03/13SX-17-CR-174, SX-17-CR-175, SX-17-CR-189Molly, Robert A.2020 VI Super 41PView SummaryVenessa Hendricks vs. Pinnacle Services, LLC; and Limtetree Bay Terminal, LLC2020/03/16SX-18-CV-199Willocks, Harold W. L.2020 VI Super 37PView SummaryPatrick Kralik vs. Osage STX Holdings, LLC2020/06/22SX-19-CV-61Willocks, Harold W. L.2020 VI Super 69PView SummarySamuel  Ferdinand vs. Abd Hammoudeh, MD2022/03/18SX-22-CV-25Willocks, Harold W. L.2022 VI Super 31PView SummaryKemit Lewis vs. Virgin Islands Government Hospital and Health Facilities Corporation, Dr. Leslie Burton, and Dr. Ramesch Lakhram2022/03/22SX-21-CV-893Willocks, Harold W. L.2022 VI Super 33PView SummaryStrand Square, LLC vs. Digby Stridiron II2022/03/14SX-20-CV-659Willocks, Harold W. L.2022 VI Super 26PView SummarySiwell Inc. d/b/a Capital Mortgage Services of Texas vs. Nilsa Ivalisse Bough and Blanche D. Bough as Trustees of the Nilsa P. Bough Revocable Trust and Eden East Property Owners' Association, Inc.2022/03/23SX-20-CV-223Willocks, Harold W. L.2022 VI Super 32PView SummaryVernal Ezekiel Herbert vs. National Industrial Services, LLC2022/03/18SX-19-CV-629Willocks, Harold W. L.2022 VI Super 30PView SummaryReinaldo M. Bermudez vs. Virgin Islands Port Authority and American Infrastructure Development, Inc.2022/03/15SX-17-CV-275Brady, Douglas A.2022 VI Super 28PView SummaryJacqueline Santiago vs. United Corporation d/b/a Plaza Extra (West)2020/12/28SX-05-CV-739Brady, Douglas A.2020 VI Super 105PView SummaryDr. Tylur Arvidson and Dr. Tygue Arvidson vs. Dr. Williams Buchar and V.I. Chiropractic, LLC2020/03/28ST-16-CV-410Dunston, Michael C.2020 VI Super 48PView SummaryHess Oil Virgin Islands Corporation vs. Fluor Daniel, Individually and as successor-in-interest to Fluor Engineers and Constructors, Inc.2020/04/08SX-05-CV-165Molly, Robert A.2020 VI Super 50PView SummaryAdaryll S. Gumbs vs. Wynnie Testamark, Director of Bureau of Corrections2020/08/12ST-20-MC-13Willocks, Harold W. L.2020 VI Super 67PView SummaryJah-I-Dah Gumbs vs. Schneider Regional Medical Center, Maria C. Juelle, P.A., James W. Freeman, M.D., John Dow and Jane Doe2020/10/19ST-17-CV-272Gumbs-Carty, Renee2020 VI Super 87PView SummaryMagens Interval Resort, Inc., d/b/a Magens Bay Villas Club vs. William K. Hart and Andrea B. Hart2020/10/06ST-15-SM-431Carr, III,, Henry V.2020 VI Super 86PView SummaryGlen George Selkridge vs. Ermin Oretha Greene and DavidByron Johnson, Jr.2022/02/08SX-20-CV-761Willocks, Harold W. L.2022 VI Super 16PView SummaryPeople of the Virgin Islands vs. Elroy Joseph2022/01/27SX-19-CR-200Willocks, Harold W. L.2022 VI Super 12PView SummaryBluewater Construction, Inc. vs. Gary Hill and Wanda Hill2022/02/11ST-20-CV-212Francois, Denise M.2022 VI Super 13PView SummaryKirk Rondon vs. Caribbean Leasing &amp; ECO Transportation, Inc., d/b/a Dollar Car Rental, and Justin Workman2022/01/12ST-19-CV-302Tejo, Sigrid M.2022 VI Super 2PView SummaryHassan Abdallah vs. Hasan Abdel-Rahman, Malea Kiblan Rahman, Abdul Samad, Foad Samad, and Ayman Abdel-Samad2021/07/22ST-13-CV-227Tejo, Sigrid M.2021 VI Super 75PView SummaryRutha M. Brown and Frank Brown Jr. vs. Certain Underwriters at Lloyd's of London Subscribing to Policy No. HOCAT1730XC, Certain Underwriters at Lloyd's of London Subscribing to Policy No. HOCGX1156XC, and Marshall &amp; Sterling St. Croix, Inc.2021/06/07SX-20-CV-771Willocks, Harold W. L.2021 VI Super 61PView SummaryRaymond Berkeley vs.Michele Berkeley, Individually and as Trustee of the Trust Agreement of Barbara T. Berkeley2021/02/24SX-20-CV-121Willocks, Harold W. L.2021 VI Super 22PView SummaryPeter Ghirawoo vs. Faye John-Baptiste, Peppertree Hill Landowners Association, Inc., Leatrice Garcia, and Johnny and Oreta Hughes2021/02/24SX-19-CV-555Willocks, Harold W. L.2021 VI Super 24PView SummaryDavid Joseph and Debbiely Joseph vs. Amorite Connor and Elena Herbert2021/02/18SX-19-CV-525Willocks, Harold W. L.2021 VI Super 18PView SummaryGuardian Insurance Company vs. Ramzy Abdallah2021/02/19SX-19-CV-110Brady, Douglas A.2021 VI Super 20PView SummaryPeople of the Virgin Islands vs. Jamal Joseph2021/02/24SX-19-CR-11Willocks, Harold W. L.2021 VI Super 23PView SummaryTiffani Hervert on behalf of the minor Dellitta Mapp vs. Government of the Virgin Islands, Department of Education and Jocelyn Hendrickson2021/02/19SX-18-CV-179Brady, Douglas A.2021 VI Super 19PView SummaryLuis Magras vs. National Industrial Services, LLC, Pinnacle Services, LLC, and Limetree Bay Terminals, L.L.C.2021/06/24SX-17-CV-435Willocks, Harold W. L.2021 VI Super 67PView SummaryMarsha Jagrup vs. VI Board of Nurse Licensure2021/03/05SX-15-CV-548Brady, Douglas A.2021 VI Super 29PView SummaryDona Aaron vs. Virgin Islands Government Hospital and Health Facilities Corporation2021/03/08SX-14-CV-423Willocks, Harold W. L.2021 VI Super 30PView SummaryIn Re: Cases Under Bankruptcy Stay Michael Felix vs. Caribbean Auto mart of St. Croix, Inc. and Linus Lancane2021/04/22SX08-CV-86Willocks, Harold W. L.2021 VI Super 41PView SummaryIn Re: Asbestos, Silica and Catalyst Dust Claims III2021/02/16SX-21-MC-56Andrews, Jr. Alphonso G.2021 VI Super 112PView SummaryIn Re: Asbestos, Silica and Catalyst Dust Claims I2021/02/16SX-21-MC-58Andrews, Jr. Alphonso G.2021 VI Super 114PView SummaryIn Re: Asbestos, Silica and Catalyst Dust Claims II2021/02/16SX-2021-MC-50Andrews, Jr. Alphonso G.2021 VI Super 113PView SummaryMelisia Hanley as Chair VI State Nurse' Association collective Bargaining Unit &amp; Jacqueline Canton as Chair Registered Nurses' Leadership Union, Inc.2021/10/05SX-21-CV-644Willocks, Harold W. L.2021 VI Super 100PView SummaryMadeline A. Bassil2021/08/16ST-2021-CV-148Tejo, Sigrid M.2021 VI Super 88PView SummaryNorman Agness vs. Furniture Plus2021/10/13ST-20-SM-122Carr, III,, Henry V.2021 VI Super 104PView SummaryHigh Times VI Enterprises, LLC vs. Hafiz Ahmad Rahhal and d/b/a Delma Auto Sales &amp; Wholesale2021/04/14SX-20-CV-921Willocks, Harold W. L.2021 VI Super 42PView SummaryChristoph Keith Massac vs. Government of the Virgin Islands, Office of the Lieutenant Governor2021/04/19ST-20-CV-278Francois, Denise M.2021 VI Super 45PView SummaryPeter Ghirawoo vs. Faye Joh-Baptisti, Peppertree Hill Landowners Association, Inc., Leatrice Garcia, and Johnny and Oreta Hughes2021/04/14SX-19-CV-555Willocks, Harold W. L.2021 VI Super 43PView SummaryOriental Bank vs. Nehemiah Frey and Tara N. Lee a/k/a Tara Lee2021/09/07SX-19-CV-309Willocks, Harold W. L.2021 VI Super 93PView SummaryJamal M. Abed and Jalal M. Abed vs. Anuar Mufid Abed, Akram Mufid Abed, and Sion Farm Service Station2021/09/30SX-18-CV-529Willocks, Harold W. L.2021 VI Super 98PView SummaryUnited Steelworkers, Locals 8248 &amp; 8249 vs. Gov't of the VI Division of Personnel, &amp; Public Employees Relations Board2021/02/02ST-13-CV-668Gumbs-Carty, Renee2021 VI Super 12PView SummaryJoseph Mathurin vs. Hess Oil Virgin Islands Corporation, Amerada Hess Corporation, and SPX Corporation, as Successor-In-Interest to Litwin Corporation2021/11/02SX-06-CV-627Willocks, Harold W. L.2021 VI Super 110PView Summary Alfred Greenaway vs. Virgin Islands Water &amp; Power Authority, Industrial Automation, Inc.1800/01/01SX-01-CV-588Brady, Douglas A.2021 VI Super 54PView SummaryShawn V. Smith vs. Hovensa, LLC.2021/01/28SX-20-CV-229Willocks, Harold W. L.2021 VI Super 10PView SummaryRegine Fitzner vs. New Werner Holding Co. Inc., New Werner Holding (DE), LLC. Werner Co., Gallows Bay Hardware, Inc., and Orgill, Inc.2021/02/08SX-09-CV-400Willocks, Harold W. L.2021 VI Super 6PView SummaryMichael Felix vs. Caribbean Auto Mart of St. Croix, Inc. and Linus Lancane 2021/01/28SX-08-CV-86Willocks, Harold W. L.2021 VI Super 9PView SummaryMichael Kitnurse vs. Marshall and Sterling and Certain Under Writers at Lloyds of London 2021/01/28SX-14-CV-361Willocks, Harold W. L.2021 VI Super 8PView SummaryJerome B. Cipriani and Lawrence W. Cipriani vs. Roben Cipriani2021/01/13SX-17-CV-81Willocks, Harold W. L.2021 VI Super 4PView SummaryPatrick Kralik vs. Osage St. Croix Holdings, LLC. and Christiansted Restoration Corp.2021/01/13SX-19-CV-61Willocks, Harold W. L.2021 VI Super 1PView SummaryIsland Airlines, LLC, Eagle Aviation, LLC, and Trond Osthaug vs. William Bohlke, Jr., Gohlke International Airways, Inc. William R. Bohlke, Michael Johnson; VI Port Authority, and David W. Mapp, Assistant Executive Director of the VI Port Authority in his Official and Individual Capacity2022/02/14SX-16-CV-404Brady, Douglas A.2022 VI Super 20PView SummaryIn Re:  Refinery Workers Toxic Tort Litigation2022/01/14SX-15-CV-198Andrews, Jr. Alphonso G.2022 VI Super 4PView SummaryLC Daniel Enterprises, Inc. d/b/a Global Tours Travel Agency vs. Keith James d/b/a Keith's Travel2022/01/25SX-15-CV-237Willocks, Harold W. L.2022 VI Super 9PView SummaryBobax Ventures, LP vs. Innercircle logistics, Inc. and John A. Clendenin2022/01/25SX-15-CV-173Willocks, Harold W. L.2022 VI Super 7PView SummaryMichael Clark vs. The Virgin Islands Housing Authority (VIHA)2021/12/23ST-17-CV-423Tejo, Sigrid M.2021 VI Super 123PView SummaryMichael Clark vs. The Virgin Islands Housing Authority (VIHA)2021/11/15ST-17-CV-423Tejo, Sigrid M.2021 VI Super 111PView SummaryTerrence Nelson vs. Centerline Car Rentals, Inc. and Jonathan Scully2021/10/29SX-20-CV-273Willocks, Harold W. L.2021 VI Super 109PView SummaryJahzeel Fenton vs. Government of the VI Office of the VI Attorney General Wynnie Testamark, Director of the US Virgin Islands Bureau of Corrections2021/10/15SX-19-MC-78/SX-10-CR-347Meade, Jomo2021 VI Super 101PView SummaryHotel on the Cay Time-Sharing Association, Inc. vs. Government of the Virgin Islands2021/10/07SX-12-CV-13Brady, Douglas A.2021 VI Super 102View SummaryWorldwide Travel Staffing, LTD vs. Governor Juan F. Luis Hospital and Medical Center and VI Gov't Hospital and Health Facilities, Corp.2021/10/04SX-14-CV-9Willocks, Harold W. L.2021 VI Super 97PView SummaryLakeview Loan Servicing, LLC vs. Krishna R. Singh, Itzamar Singh, and Aurora Loan Services2021/07/28SX-16-CV-541Willocks, Harold W. L.2021 VI Super 79PView SummaryFrancis B. Serieux vs. Schneider Clinic and St. Thomas East End Medical Center Corporation2021/07/22ST-19-CV-591Tejo, Sigrid M.2021 VI Super 76PView SummaryKirk Rondon vs. Caribbean Leasing and ECO Transportation, Inc., D/B/A Drive Green, VI, Deft, Inc. D/B/A Dollar Car Rental, and Justin Workman2021/07/08ST-19-CV-302Tejo, Sigrid M.2021 VI Super 72PView SummaryThomas Klotzbach vs. Virgin Islands Water and Power Authority2021/06/14ST-13-CV-445Mackay, Kathleen Y.2021 VI Super 64PView SummaryFirstBank Puerto Rico vs. Thomas Alan Ainger2021/05/12SX-20-RV-04Willocks, Harold W. L.2020 VI Super 47PView SummaryHighland Credit Opportunities CDO, Ltd.; Highland Credit Strategies Master Fund, L.P.; Highland Restoration Capital Partners Master vs. Stephen Evans-Freke2021/03/17ST-18-CV-314Willocks, Harold W. L.2021 VI Super 34PView SummaryElisa F. Bryan Lacatena vs. Michael Anthony Lacatena2021/03/19ST-19-DI-118Watlington, Debra S.2021 VI Super 36PView Summary1800/01/01View SummaryPeople of the Virgin Islands vs. Alain Rodriguez Rionda2021/03/09ST-19-CR-168Mackay, Kathleen Y.2021 VI Super 31PView SummaryPeople of the Virgin Islands vs. Allan E. Stevens2021/03/09ST-19-CR-78Mackay, Kathleen Y.2021 VI Super 25PView SummaryPeople of the Virgin Islands vs. Jestus Francis2021/02/24ST-20-CR-188Francois, Denise M.2021 VI Super 21PView SummaryNycole Thompson vs. Public Employees Relations Board and Virgin Islands Port Authority2021/02/04ST-18-CV-720Gumbs-Carty, Renee2021 VI Super 16PView SummaryIn the Matter of Dereck Lee Clive2020/11/18SX-19-CV-593Willocks, Harold W. L.2020 VI Super 94PView SummaryJah-I-Dah Gumbs v. Schneider Regional Medical Center, Maria C. Juelle, P.A.2020/10/19ST-17-CV-250Gumbs-Carty, Renee2020 VI Super 87View SummaryPhillip Tutein v. Fiat Chrysler Automobiles, US LLC2020/07/07SX-20-CV-38Brady, Douglas A.2020 VI Super 71View SummaryPatrick Kralik v. Osage STX Holdings, LLC2020/06/22SX-19-CV-061Willocks, Harold W. L.2020 VI SUPER 069View SummaryStephanie Hodge v. H. Duane Bobeck2020/06/12SX-08-CV-201Willocks, Harold W.L.2020 V.I. Super 068PView SummaryPeople of the Virgin Islands v. Jose Ventura2020/06/03SX-12-CR-76Donohue, Sr., Darryl D.2020 VI Super 63View SummaryPeople of the Virgin Islands v. Jose Rivera2020/06/03SX-12-CR-65Donahue, Sr., Darryl D.2020 VI Super 64View SummaryReola Garcia Oliver, James Oliver and Frankie Oliver v. Terminix International Company, LLP2020/04/26SX-18-CV-229Molloy, Robert A.2020 VI Super 54View SummaryRodney Stanley v. Virgin Islands Bureau of Corrections, et al.,2020/04/01ST-16-MC-75Molloy, Robert A.2020 VI Super 47View SummarySixteen Plus Corporation v. Manal Mohammad Yousef2020/03/16SX-16-CV-065Molloy, Robert A.2020 VI Super 43View SummaryJerome Matthews v. R &amp; M General Contractors Inc.,2020/03/11SX-13-CV-499Willocks, Harold W.L.2020 VI Super 033View SummaryVenessa Hendricks v. Pinnacle Services, LLC; and Limetree Bay Terminal, LLC.2020/03/16SX-18-CV-199Willocks, Harold W.L.2020 V.I. Super 037View SummaryPeople of the Virgin Islands v. Jerris T. Browne, Gregory Christian and Syed Gilani2020/02/14SX-17-CR-174Molloy, Robert A.2020 VI Super 26View SummaryLeonor Mercedes Palermo v. World Fresh Market, L.L.C. a/k/a Pueblo2020/01/27SX-08-CV-599Molloy, Robert A. 2020 VI Super 20View SummaryEleanor Abraham; Phillp Abraham v. St. Croix Renaissance Group LLLP,2020/02/03SX-11-CV-550Molloy, Robert A. 2020 VI Super 21View SummaryTeriano Douglas v. Transportation Services of St. John, Inc.,2020/02/04ST-16-CV-712Gumbs-Carty, ReneeCite as 2020 VI Super 22View SummaryGoverment of the Virgin Islands v. John K. Dema, P.C.,2020/01/24SX-17-CV-261Molloy, Robert A.2020 VI Super 19View SummaryDiamondRock Hospitality Company v. Certain Underwriters at Lloyd's of London2020/01/24ST-18-CV-399Gumbs-Carty, Renee2020 VI Super 18View SummaryCynthia I. Shuster and Michael J. Shuster v. Barracuda Charters, LLC and Captain Kenneth Klein2020/01/22ST-18-CV-009Gumbs-Carty, Renee2020 VI Super 16View SummaryA. Susan Miller v. V.I. Wheel Estate, LLC d/b/a Peppertree Terrace2020/01/21SX-18-CV-041Brady, Douglas A.2020 VI Super 014View SummaryDiamondRock Hospitality Company vs. 2019/12/05ST-18-CV-399Gumbs-Carty, Renee 2020 VI Super 12View SummaryBeachside Associates, LLC vs. SBRMCOA, LLC, d/b/a Sapphire Beach Resort2020/01/16ST-06-CV-498Mackay, Kathleen Y.2020 VI Super 9View SummaryCertain Underwriters at Lloyd's of London v. Juan Garcia2020/01/15SX-07-CV-141Molloy, Robert A.2020 VI Super 8View SummaryOwen Williams v. Groundwater and Environmental Services, Inc.,  and Christiansted Equipment, Inc., 2020/01/08SX-18-CV-552Brady, Douglas A.2020 VI Super 001View SummaryLucy Laforce v. Estate of Gregory Laforce2019/12/27SX-15-CV-181Willocks, Harold W.L.2019 VI Super 171View SummaryTransportation Services of St. John, Inc., Clifton A. Boynes Jr., vs. Loredon Boynes, Tonya Pickering, and Linked Resources LLC,2019/12/30ST-13-CV-544Molloy, Robert A. 2019 VI Super 178View SummaryPatricia Schrader-Cooke v. The Government of the Virgin Islands2019/12/06SX-16-CV-655Brady, Douglas A.2019 VI Super 167View SummaryDr. Tylur Arvidson and Dr. Tygue Arvidson vs. Dr. William Buchar and V.I. Chiropractic LLC2020/03/10ST-16-CV-410Dunston, Michael C.2020 VI SUPER 36View Summary
    






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